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 15
                            UNITED STATES DISTRICT COURT
 16
                          CENTRAL DISTRICT OF CALIFORNIA
 17
    CHINA BRANDING GROUP                         Case No.2: 20-CV-06759 RGK (JC)
 18 LIMITED (IN OFFICIAL
                                                 STIPULATION TO RELEASE
 19 LIQUIDATION), by and through its             AND/OR EXONERATE APPEAL
    Joint Official Liquidators, Hugh             BOND
 20 Dickson of Grant Thornton Specialist
    Services (Cayman), Limited and David         Judge: Hon. R. Gary Klausner
 21 Bennett of Grant Thornton Recovery &         Magistrate Judge: Hon. Jacqueline
    Reorganisation Limited,                      Chooljian
 22
 23             Plaintiff,                       Complaint Filed: July 28, 2020
    v.
 24
    TONY BOBULINSKI
 25
                Defendant.
 26
 27
 28
                                                               Case No. 2:20-CV-06759 RGK (JC)
                     STIPULATION TO RELEASE AND/OR EXONERATE APPEAL BOND
Case 2:20-cv-06759-RGK-JC     Document 133 Filed 08/22/22        Page 2 of 3 Page ID
                                    #:2132



  1        Pursuant to Civil Local Rule 7-1, Plaintiff China Branding Group Limited (in
  2 official liquidation) and Defendant Tony Bobulinski (together, the “Parties”), by and
  3 through their respective counsel of record, stipulate as follows:
  4        1.     SureTec Insurance Company’s (“SureTec”) appeal bond no. 3487389
  5 in the amount of $664,960.65 (the “Bond”) is released and/or exonerated.
  6        2.     The Parties release SureTec from any and all liability thereunder.
  7
  8        Pursuant to Civil Local Rule 7-1, the Parties, through their counsel, HEREBY
  9 STIPULATE THAT the Bond be released and/or exonerated and agree to release
 10 SureTec from any and all liability thereunder.
 11        IT IS SO STIPULATED.
 12
 13 DATED: August 22, 2022                 WAYMAKER LLP
 14
 15
                                           By: /s/ Teresa L. Huggins
 16
                                               Teresa L. Huggins
 17
 18                                            Attorneys for Defendant Tony Bobulinski

 19
 20
 21 DATED: August 22, 2022                 LAW OFFICE OF ROBERT COHEN APC
 22
 23
                                           By: /s/ Robert W. Cohen
 24
                                               Robert W. Cohen
 25
                                               Attorneys for Plaintiff China Branding
 26                                            Group
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                                              -1-              Case No. 2:20-CV-06759 RGK (JC)
                     STIPULATION TO RELEASE AND/OR EXONERATE APPEAL BOND
Case 2:20-cv-06759-RGK-JC       Document 133 Filed 08/22/22       Page 3 of 3 Page ID
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  1                                FILER’S ATTESTATION
  2
            I, Teresa L. Huggins, am the ECF user whose identification and password are
  3
      being used to file this Stipulation to Release and/or Exonerate Appeal Bond.
  4
      Pursuant to Civil Local Rule 5-4.3.4(a)(2)(i), I hereby attest that the other above-
  5
      named signatories concur in this filing.
  6
      DATED: August 22, 2022               WAYMAKER LLP
  7
  8
                                           By: /s/ Teresa L. Huggins
  9                                            TERESA L. HUGGINS
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                      STIPULATION TO RELEASE AND/OR EXONERATE APPEAL BOND
